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UNITED sTATEs oF AMERICA t" U- ~ fm IPHIS
-vs- Case No. 2:03cr20191-Ma

BENORIA ANN BELL

 

ORDER OF TEMPORARY DETENTION
PENDING I-IEARING1 PURSUANT TO
BAIL REFORM ACT
Upon motion of the Government, it is ORDERED that a detention/probable cause hearing
is set for FRIDAY, JULY 1, 2005 at 3:00 P.M. before United States Magistrate Judge Diane K.
Vescovo in Courtroom No. 5, Third Floor, United States Courthouse and Federal Building, 167
Noith Main, Memphis, TN. Pending this hearing, the defendant shall be held in custody by the

United States Marshal and produced for the hearing.

Date: June 28, 2005 /s/ S. Allan Alexander

 

S. ALLAN ALEXANDER
UNTTED STATES MAGISTRATE IUDGE
NORTHERN DISTRICT OF MISSISSIPPI

 

1If not held immediately upon defendants first appez=tr.'tnce1 the hearing may be continued for up to three days upon
motion of the government, or up to five days upon motion of the defendant 18 U.S.C. § 3142(f)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(f) are present Subsection (l) sets forth
the grounds that may be asserted only by the attorney for the govemment; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial officer's own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct justice, or threaten, injure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

AO 470 (B/BS} Order of Tsrrl)orary Detentlon

Thls doctmant entered on the docket sheet |n compliance
with Ru|e 55 andlor 32tbl FFlCrP on -' "

   

UNITED s`TsATE DISTRICT OURT - WESTERN D"RITICT 0 TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
case 2:03-CR-20191 Was distributed by faX, mail, or direct printing on
July 6, 2005 to the parties listed.

 

 

Terrell L. Harris

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

